                           UNITED STATES BANKRUPTCY COURT
                                DISTRICT OF NEW MEXICO
In re: KATHRYN RAMONA ESQUIBEL,                                             No. 17-10498-j7
         Debtor.

UNITED STATES TRUSTEE,
         Plaintiff,
v.                                                           Adversary Proceeding No. 17-1044 J
KATHRYN RAMONA ESQUIBEL,
         Defendant.


                       ORDER STAYING ADVERSARY PROCEEDING
        The Court held a status conference in this adversary proceeding on May 9, 2019. Richard
Wieland appeared at the status conference on behalf of the United States Trustee, and Wesley
Pool appeared at the status conference on behalf of Kathryn Esquibel. On May 3, 2019, the
Chapter 7 Trustee in the Defendant’s bankruptcy case filed the Chapter 7 Trustee’s Motion to
Approve Settlement between Chapter 7 Trustee, Debtor, John Sexton, David Kelly, and Martin
Lopez III, P.C. (“Motion to Approve Settlement”). See Case No. 17-10498-j7 – Docket No. 123.
Completion of the settlement agreement that is the subject of the Motion to Approve Settlement
will likely negate the need for the United States Trustee to pursue this Adversary Proceeding.
         WHEREFORE, IN ACCORDANCE with the Court’s ruling at the status conference,
         IT IS ORDERED:
         1. This Adversary Proceeding is stayed pending further order of the Court, except either
            party may request and the Court may conduct a status conference while this
            Adversary Proceeding is stayed.

         2. The pre-trial conference scheduled for May 22, 2019 at 9:00 a.m. is VACATED.

         3. The trial in this Adversary Proceeding scheduled for June 12, 2019 at 9:00 a.m. is
            VACATED.



                               ____________________________________
                               ROBERT H. JACOBVITZ
                               United States Bankruptcy Judge

Date entered on docket: May 10, 2019



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